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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                         TAMPA DIVISION

                               )
 WANNA PLAY PRODUCTS INC.      )
    DBA AMAZON STOREFRONT      )
    CALMEROOS                  )
                               )Civil Action No. 8:20-cv-00443
                  Plaintiff,   )
                               )
 v.                            ) JURY TRIAL DEMANDED
                               )
 ROBERT EMERY, JASON BAKKE,    )
 SNUGGLE PET PRODUCTS, LLC DBA )
 SmartPetLove, and DOE 1       )
                               )
                  Defendants.  )


                                COMPLAINT

      Plaintiff Wanna Play Products Inc. doing business as Amazon

 Storefront Calmeroos (‘Plaintiff’ or ‘Calmeroos’), and for its Complaint

 against Defendants Robert Emery (‘Defendant Emery’), Jason Bakke

 (‘Defendant Bakke’), Snuggle Pet Products, LLC doing business as

 SmartPetLove (‘SmartPetLove’), and DOE 1 (‘Defendant

 DOE 1’)(collectively, ‘Defendants’) alleges as follows:




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    I.      NATURE OF THE ACTION

         1. Plaintiff seeks judicial assistance because Defendants have 1)

 eliminated Plaintiff’s highest grossing product through fraudulent

 complaints; 2) trashed Plaintiff’s listing and seller reviews with untrue

 statements, and 3) ignored Plaintiff’s resolution efforts. Defendants’ latest

 malicious tactics evidences their calculated willingness to hurt and

 eliminate honest competitors, such as Plaintiff Calmeroos.

         2. Defendants compete directly with Calmeroos by selling pet-

 comforting products on Amazon.com (in the United States) and

 Amazon.ca (in Canada).

            A. Without Ownership Rights, Defendants Asserted
               Unenforceable Patents in Their Infringement Claims Against
               Plaintiff.

         3. Concerning the first issue, and upon information and belief,

 Defendants fired off multiple fraudulent Amazon Patent Infringement

 Reports (‘Amazon Complaints’) claiming that Calmeroos infringes

 unenforceable, expired, and irrelevant US patents that they do not own.

         4. Worse, thereafter, Defendants’ bald patent assertions omitted key

 information, rendering Calmeroos helpless.

         5. Fully knowing the effects of their disruption, Defendants are content




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 in locking their competition in e-commerce limbo.

        B. Defendants Filed Anticompetitive and Unwarranted Negative
           Reviews Against Plaintiff.

     6. Turning to the second issue, upon information and belief,

 Defendants have filed unfair one-star reviews on Amazon causing would

 be customers to reject Calmeroos’ offerings. Defendants attacked both

 Calmeroos as an Amazon seller and its accused puppy.

        C. Defendants Received an Injunction Preventing Calmeroos’
           Sales by Submitting False Claims of Patent Infringement,
           Entering Inappropriate Negative Reviews, and Filing False
           Inauthentic Claims.

     7. Finally, despite Calmeroos’ and its counsel’s pre-suit resolution

 efforts, which evidences Defendants’ meddling, they refuse to withdraw

 the fraudulent complaints or anticompetitive reviews. As explained more

 fully below, Defendants’ fire and forget complaint tactics have devastated

 Plaintiff Calmeroos and inflicted irreparable damages.

     8. Defendants’ actions have resulted in Plaintiff’s suspended listings,

 lost sales, potential account cancelations, frozen funds, and stranded assets

 on Amazon.com.

     9. This is a cause of action to remedy Defendants’ anti-competitive,

 tortious, and fraudulent behavior against Calmeroos on the Amazon.com




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 selling platform.

           D. Defendants Forced Calmeroos to Seek Judicial Intervention.

     10.        Because of Defendants’ abovementioned atrocities, Plaintiff’s

 causes of action include declaratory relief that it does not infringe invalid

 and unenforceable asserted patents not owned by any Defendant.

 Similarly, Plaintiff seeks declaratory relief that its registered patent is

 invalid because of endless prior art references, and if the patent remains

 valid, that Plaintiff is not liable for infringement.

     11.        Plaintiff also seeks declaratory relief that Defendants’

 purported heart trade dress and snuggle puppy trademark are invalid.

 Again, regardless of validity, Plaintiff seeks judgment that it is not liable

 for infringement of either.

     12.        Additionally, Defendants abhorrent behavior results in

 liability for violations of tortious interference with contractual and

 business relations; defamation; Florida Deceptive and Unfair Trade

 Practices Act; and other related causes of action.

     13.        By filing Amazon Complaints and ignoring any resolution

 efforts, Defendants successfully shuttered an entire business without

 presenting any evidence, providing any details (such as a relevant patent



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 number Calmeroos’ allegedly infringed), or expending more than five

 minutes to do so.

         14.      Despite incrementally escalating Calmeroos’ resolution

 efforts, Defendants’ many failures have forced Calmeroos to turn to

 judicial intervention.

   II.         PRIOR US DISTRICT COURT FOR THE NORTHERN
               DISTRICT OF GEORGIA

         15.      Plaintiff previously filed a lawsuit against Defendants in the

 US District Court for the Northern District of Georgia, which is captioned

 Plaintiff Wanna Play Products Inc. doing business as Amazon Storefront

 Calmeroos v. Defendants Robert Emery, Snuggle Pet Products, LLC doing

 business as SmartPetLove, and DOE 1, Civil Action No. 1:20-cv--00010-AT

 (NDGa 2020)(‘Georgia Lawsuit’).

         16.      Defendants’ counsel intimated that it would file a Motion to

 Dismiss or Transfer as counsel alleges that Defendants lack Constitutional

 ties to Georgia.

         17.      Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

 Plaintiff dismissed voluntarily all claims against Defendants without

 prejudice on February 10, 2020.

         18.      During the Georgia Lawsuit, when presented with evidence


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 that the bases for Defendants’ Amazon Complaints were wholly irrelevant

 to Calmeroos’ products, decidedly unenforceable, and conspicuously

 never owned by Defendants, counsel for Defendants explained that the

 asserted patent number was a Taiwanese patent registration asserted

 against Calmeroos’ Amazon US account.

           A. Amazon.com in the US is different from Amazon.ca in Canada.

     19.        Defendants’ counsel asserted that Defendants held an

 erroneous belief that they could assert a Taiwanese patent registration

 against Calmeroos’ Amazon.com (United States listing) because

 Amazon.com is worldwide. But, even if Defendants owned an enforceable

 Taiwanese patent registration, they surely know that Amazon

 marketplaces are divided geographically. For example, Defendants sell

 their Snuggle Puppy through the Amazon Canada Marketplace.

 https://www.amazon.ca/Snuggle-Pet-Products-Brown-SnugglePuppie/

 dp/B000NVDDXM/ref=sr_1_1?keywords=smartpetlove&qid=1581476505

 &sr=8-1 (last visited Feb. 11, 2019).

     20.        As evidenced from Amazon.ca’s website (vice Amazon.com),

 and the fact that all prices are in Canadian dollars, Defendants’ allegation

 that it was unaware the Amazon.com marketplace was not global seems



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 disingenuous.

          a. Products to be sold on Amazon.com in the US are shipped to

             Amazon FBA Warehouses throughout the US.

          b. Products to be sold on Amazon.ca in Canada are shipped to

             Amazon warehouses throughout Canada.

          c. Sales through Amazon.com in the US and Amazon.ca in

             Canada are completely separate.

                  i. Proceeds from Canadian sales are paid to a seller’s

                     Canadian-based CND account in Canadian dollars.

                 ii. Proceeds from US sales are paid to a seller’s US-based

                     USD account in US dollars.

          d. Taxes related to Amazon sales are entirely different in Canada

             versus the US.

                  i. In Canada, sellers collect and remit Goods and Services

                     and Provincial taxes.

                 ii. In the US, sellers must collect and remit state sales tax

                     according to where products are warehoused and sold.

                 iii. To sell in either market, a seller must be aware of these

                     significant tax differences.



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             e. Product listings, even if for the exact same product, are

                completely distinct in the .ca marketplace versus .com

                marketplace. For instance, product listings have different

                ASINS and are treated as completely independent listings

                from each market.

 Declaration of Ms. Crystal McPherson (‘McPherson Decl.’) ¶ 3, Exhibit 1.

     21.        Further, Amazon sellers in the US are or should be aware of

 Amazon’s patent policy stated below.1

          What is a patent?

              A patent is a form of legal protection for inventions. An
          issued patent grants its owner the right to exclude others from
          making, using, offering to sell, selling, or importing the
          invention into the United States for a fixed number of years.

 See generally, Exhibit 17 (Amazon Intellectual Property Policy for Sellers)

 (emphasis added).

           B. Taiwanese Patents are not Enforceable in the US or Canada.

     22.        Putting aside the fact that Taiwanese patent registrations may

 not be asserted against sales within the United States, a cursory search of




      https://sellercentral.amazon.com/gp/help/help.html?itemID=
      1

 Q53DXVX2D2TPCPQ&language=en_US&ref=ag_Q53DXVX2D2TPCPQ_c
 ont_201361070 (last visited Feb. 11, 2019), Attachment X.


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 Defendants’ purported Taiwanese patent number, 544552, related to a lock

 device control system, was invented by Yi-Ting TW Shen, and was applied

 for by I-Tek Metal Manufacturing Co., Ltd.TW. See Exhibit 12 (Taiwan

 Patent Search – 544552).

           C. SmartPetLove’s Actual Patent is Invalid and Calmeroos’
              Products do not Infringe.

     23.        Next, Defendants’ counsel explained that Calmeroos, by

 selling its accused puppy, was liable for infringing US Patent Registration

 No. 10,314,292 (‘‘292 Patent’). Exhibit 13 (US010314292). While Defendant

 SmartPetLove purportedly owns this patent by assignment, the ‘292 Patent

 fails to disclose countless prior art references. Further, when counsel

 asked whether the puppy’s plush produces a breathing sound, a claimed

 limitation, it became apparent that even if Defendants filed a valid,

 enforceable patent that it owned, Calmeroos’ puppy would not infringe as

 it does not breathe.

           D. Alleged Copyright Infringement,

     24.        Undeterred, Defendants’ counsel identified a previously

 unasserted copyright registration that Calmeroos purportedly infringed.

 However, despite requesting and in keeping with Defendants’ tactics,

 counsel has not provided an exemplar of the underlying work to


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  determine whether their latest allegations held merit.

            E. A Heart-Shaped, Red Heart is Functional and not Distinctive;
               Therefore it is not Protectable as Trade Dress.

      25.        Grasping at straws, Defendants next asserted that Calmeroos’

  puppy infringes their heart trade dress –

  the same heart that is the subject of its

  patent registration. Plainly, Defendant

  SmartPetLove’s heart is heart-shaped, red

  in color, and features a conspicuous

  power button that uses a universally-

  known symbol for a power switch. After all, the power button does just

  that – it functions as a switch to power on its modular simulator . . . the

  same one that is the subject of the ‘292 Patent.

      26.        Calmeroos explained that Defendants’ heart is a common

  shape and color that lacks the requisite distinctiveness to afford

  protectable trade dress. Even the power button’s symbol is not unique or

  distinctive to SmartPetLove.

      27.        Moreover, Defendants’ heart is clearly functional, and it even

  serves as a claimed limitation within the ‘292 Patent. And, well-settled law

  in the United States precludes trade dress protection for items that are


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  functional.

      28.        Still undeterred, Defendants’ counsel morphed its heart trade

  dress assertion into its entire dog toy.

            F. Self-Serving Email.

      29.        Now, most recently, Defendants have advanced a recent email

  string complaint purportedly demonstrating actual confusion between

  Calmeroos’ product and Defendants’. The contemporaneous timing of this

  complaint and pointed, legal language within supports that the evidence

  was manufactured. Indeed, should the email string actually prove

  legitimate, Plaintiff’s Calmeroos listing was suspended for much of the

  time where a seemingly upset customer could actually confuse Plaintiff’s

  product with Defendants’.

      30.        Like many aspects, Plaintiff believes that Defendants’ actions

  do not support a finding that they were simply enforcing their intellectual

  property. Rather, Defendants have employed abusive and oppressive

  tactics that defy US law to simply and unlawfully destroy a competitor.

      31.        Defendants’ constant moving targets mean that Calmeroos

  may not present an all-inclusive defense. Indeed, a few weeks ago,

  Defendants filed additional trademark applications. See Exhibit 14 -



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  (2020.2.17 - Snuggle Pet’s Trademark Record List Display).

          32.      Like its newly-filed Snuggle Puppy trademark application,

  Calmeroos has a good faith belief that Defendants will conjure additional,

  never before asserted claims when they respond.

   III.         JURISDICTION AND VENUE

          33.      Calmeroos’ patent invalidity and non-infringement claims

  arise under the Declaratory Judgment Act, 28 U.S.C. §§ 2201-02, and under

  the patent laws of the United States, Title 35 of the United States Code.

  Accordingly, this Court has jurisdiction over the subject matter of this

  Complaint under 28 U.S.C. §§ 1338(a), 1367, and 2201.

          34.      This Court may exercise personal jurisdiction over Defendant

  Emery because he resides within this jurisdiction.

          35.      Further, this Court may exercise personal jurisdiction over

  SmartPetLove because it has transacted and continue to transact business

  in this judicial district and division.

          36.      Further still, this Court has personal jurisdiction over

  Defendants Emery, Bakke, and DOE 1 because they have knowingly and

  actively engaged in tortious acts in this District. For example, and upon

  information and belief, Defendants Emery, Bakke, and DOE 1 has



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  conspired with each other to carry out tortious acts in this District.

         37.        This Court has supplemental jurisdiction over Plaintiff’s

  Florida state-law claims pursuant to 28 U.S.C. § 1367, in that the state law

  claims are integrally-related to the federal claims and arise from a common

  nucleus of operative facts, such that the resolution of all claims herein is in

  the interests of judicial economy.

         38.        The Court has personal jurisdiction over Defendants pursuant

  to Florida’s Long Arm Statute because Defendants have committed

  tortious acts within the state from which the below causes of action arise,

  and/or have committed tortious actions outside of Florida with the intent

  to cause—and in fact caused—injury in Florida and to Florida, as

  explained in more detail below.

         39.        Venue is proper in this district and division pursuant to 28

  U.S.C. § 1391, 28 U.S.C. § 1400(b).

   IV.         PARTIES

               A. Plaintiff Wanna Play Products Inc.

         40.        Plaintiff Wanna Play Products Inc. is a Canadian corporation

  located at 12 McKall Bay, Winnipeg, Manitoba R3X 1T8. Plaintiff does

  business as Amazon Seller Calmeroos. Ms. Crystal McPherson owns and




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  operates Wanna Play Products Inc. with her husband. McPherson Decl.¶

  4, Exhibit 1.

      41.         Plaintiff owns US Trademark Registration No. 5,968,918

  (Calmeroos) to protect “Plush toys; Plush toys for dogs which provide

  both warmth and simulated heartbeat sensations.”

            B. Defendant Robert Emery.

      42.         Upon information and belief, Robert Emery is the member-

  manager of Snuggle Pet Products LLC. Upon further information and

  belief, he resides at 796 Marbury Lane, Longboat Key, Florida 34228.

            C. Defendant Jason Bakke.

      43.         Upon information and belief, Jason Bakke is a member of

  Snuggle Pet Products LLC. Upon further information and belief, he

  resides at 2360 NE 13th Way, Hillsboro, Oregon 97124.

            D. Defendant Snuggle Pet Products LLC.

      44.         Upon information and belief, Snuggle Pet Products LLC has a

  principal place of business at 41180 Vincenti Court, Novi, Michigan 48375.

  Defendant Emery serves as its registered agent. Upon further information

  and belief, Snuggle Pet Products LLC operates an Amazon.com account

  named SmartPetLove.




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            E. Defendant DOE 1.

      45.       Upon information and belief, Defendant DOE 1, identified as

  ‘Real Puppy Lover,’ submitted false Amazon product and seller reviews.

  Upon further information and belief, Defendant DOE 1 is either Defendant

  Emery, his family member, or his friend.

      46.       Upon information and belief, Defendant DOE 1 is either the

  same Defendant, person, entity, or are working in concert with each other.

      47.       Upon information and belief, Defendant DOE 1 is a person or

  business entity of unknown makeup or anonymous individual(s) who

  conduct business throughout the world, including within this judicial

  district through the operation of Amazon.com storefront(s), Amazon

  Reviews, Amazon.com buyer account(s), or e-mail address(es).

      48.       Upon information and belief, Defendant DOE 1 purchased

  goods with the intent to cause harm and damage Plaintiff. Upon further

  information and belief, Defendant DOE 1 uses anonymous information

  masking its true identity, physical address, and other contact information.

  Upon further information and belief, Defendant DOE 1 operates in this

  fashion to protect its true identity.

      49.       Plaintiff is presently unaware of the true identity of Defendant



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  DOE 1. Once Plaintiff identifies the entity or individual behind Defendant

  DOE 1, Plaintiff will amend this Complaint.

    V.         AMAZON.COM, INC.2

         50.      Amazon.com, Inc. (‘Amazon’) is the world’s largest online

  retailer. The Amazon.com platform offers products worldwide. Amazon

  is available solely online at https://www.amazon.com/ (last visited Feb.

  25, 2020).

         51.      “Amazon provides a platform for third-party sellers (‘Sellers’)

  and buyers (‘Buyers’) to negotiate and complete transactions. Amazon is

  not involved in the actual transaction between Sellers and Buyers . . . .”3

         52.      Sellers ship goods to various Amazon warehouses across the

  United States. At those warehouses, Amazon stores a seller’s inventory

  and ships goods out of those warehouses. Only about half of the states

  have Amazon warehouses. Florida is one of those states.4




     2 Amazon.comInc. is the corporation that owns and operates
  Amazon.com, which is often abbreviated to Amazon.
     3https://www.sec.gov/Archives/edgar/data/1280998/
  000104746904006416/a2128948zex-10_19.htm (last visited Dec. 8, 2019).
     4 https://trustfile.avalara.com/resources/amazon-warehouse-
  locations/atl6/ (last visited Dec. 8, 2019).



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      53.        To make a purchase, typically, a Buyer searches for a

  particular item on Amazon.com or via a mobile application and submits an

  order.

      54.        Amazon identifies that particular item at one of its many

  warehouses. Amazon then fulfills that order by mailing the items to the

  Buyer.

            A. Selling on Amazon.com Successfully.

      55.        Amazon allows Sellers to offer for sale and sell products on

  the Amazon.com platform. Amazon requires that Sellers enter into

  agreements with it concerning the relationship between it and Sellers,

  duties and responsibilities of the Sellers, and other policies.5

      56.        Amazon allows Sellers to sell identical items under the same

  Amazon Standard Identification Number (‘ASIN’).6 The only factor that


       5See, e.g., Amazon.com’s Participation Agreement available at
  https://www.amazon.com/gp/help/customer/display.html/ref=hp_rel_
  topic?ie=UTF8&nodeId=1161272 (last visited Dec. 8, 2019); see also
  Amazon.com’s Restricted Products available at
  https://www.amazon.com/gp/help/customer/display.html?nodeId=200
  277040 (last visited Dec. 8, 2019).
     6 Amazon     Standard Identification Numbers (ASINs) are unique

           blocks of 10 letters and/or numbers that identify items. You
           can find the ASIN on the item’s product information page at



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  separates Sellers of products on the same ASIN is the Seller’s goodwill.

  Since goodwill is the life blood of any Amazon Seller, the Seller’s success

  or demise can be made or broken by reviews from Amazon Buyers.

      57.     Negative reviews damage a Seller’s brand name and kill sales

  because purchasing decisions are largely made after reading reviews left

  by others. Such reviews frequently attack both products and their Sellers.

  McPherson Decl. ¶ 5, Exhibit 1.

      58.     Amazon.com Inc. takes intellectual property infringement

  cases seriously. As such, a complaint results in automatic suspension.

  Amazon does not review all its automatic suspensions, nor does it



        Amazon.com. For books, the ASIN is the same as the ISBN
        number, but for all other products a new ASIN is created
        when the item is uploaded to our catalogue. You will find an
        item’s ASIN on the product detail page alongside further
        details relating to the item, which may include information
        such as size, number of pages (if it’s a book) or number of
        discs (if it’s a CD).

        ASINs can be used to search for items in our catalogue. If you
        know the ASIN or ISBN of the item you are looking for,
        simply type it into the search box (which can be found near
        the top of most pages), hit the ‘Go’ button and, if the item is
        listed in our catalogue, it will appear in your search results.

  http://www.amazon.com/gp/seller/asin-upc-isbn-info.html (last visited
  Dec. 8, 2019).



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  intervene in alleged disputes between a Seller and a complainant.

      59.        Rather, an accused Seller must resolve any apparent issue

  with the complainant. However, complainants often fail to respond to

  good faith efforts to resolve issues. Or, complainants often ignore

  evidence and arguments that prove their complaint lacks merit. In either

  situation, an accused Seller is left in limbo. Hence, accused Sellers are left

  with two options – 1) remain suspended, or 2) seek judicial intervention.

      60.        In some cases, Amazon not only suspends an accused

  offering, it also suspends an accused Seller’s entire account regardless of

  whether the intellectual property complaint applies to the other offerings.

      61.        When compared to a brick and mortar store, such as Wal-

  Mart, the devastating effects of a wrongful intellectual property complaint

  can be seen.

      62.        If an Amazon complainant submits a single-paged intellectual

  property infringement report, the result is akin to Wal-Mart removing a

  certain product from all of its shelves.

      63.        Often, Amazon may suspend all of an accused Seller’s

  offerings. This is akin to Samsung having an intellectual property

  complaint against one television model, then Wal-Mart removes all of



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  Samsung’s televisions, stereos, speakers, computers, monitors, printers,

  cameras, washers, dryers, refrigerators, ovens, dishwashers, microwaves,

  vacuums, cell phones, tablets, virtual reality devices, wearable smart

  devices, smart home devices, portable music players, and headphones.

      64.        For Samsung, the suspension would only apply at Wal-Mart.

  However, for many Amazon Sellers, the Amazon.com platform is the only

  avenue they sell through.

            B. Filing an Infringement Complaint with Amazon.

      65.        Amazon’s automated IP infringement complaint process is

  both streamlined and straightforward.7 To file one, a purported rights

  owner populates an online form to suspend a Seller’s product listing.

      66.        The following information is the only information a

  complainant must submit to suspend a Seller’s listing, and possibly, its

  account:




       7https://www.amazon.com/gp/help/reports/infringement (last
  visited Dec. 22, 2019).


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      67.      At the end of the form, a complainant must declare:

      68.      “I have a good faith belief that the content(s) described above

  violate(s) my rights described above or those held by the rights owner, and

  that the use of such content(s) is contrary to law.” Id.

      69.      “I declare, under penalty of perjury, that the information

  contained in this notification is correct and accurate and that I am the

  owner or agent of the owner of the rights described above.” Id.

      70.      To resume selling after a complaint, Amazon.com normally


       8https://www.amazon.com/report/infringement (last visited Feb.
  25, 2020).


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  requires the rights owner to affirmatively withdraw it through a retraction

  request. McPherson Decl. ¶ 6, Exhibit 1.

      71.       Should a rights owner refuse to withdraw a complaint, the

  Amazon.com Seller’s ASIN is suspended so a seller cannot sell goods

  associated with that ASIN. Further, multiple complaints may lead to

  account suspension. McPherson Decl. ¶ 7, Exhibit 1.

      72.       An account suspension is where Amazon locks a Seller’s

  account so that it cannot sell any item, even those unrelated to the ASIN

  complained of. McPherson Decl. ¶ 8, Exhibit 1.

      73.       Notably, Amazon.com, Inc.’s Report Intellectual Property

  Infringement pages differ between the United States and Canada. Compare

  https://www.amazon.com/report/infringement (last visited Feb. 25,

  2020)(emphasis added) with https://www.amazon.ca/report/

  infringement (last visited Feb. 25, 2020)(emphasis added).

            C. Amazon Inauthentic Complaints.

      74.       Experts vary in describing Amazon Inauthentic Complaints.

  However, many agree that such complaints stem from a competitor’s

  malfeasance.

           75.      Sellers are often confused by an Amazon
        Inauthentic policy violation because they are confident that


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            they are selling genuine goods. However, Amazon sees them
            as inauthentic because of WHERE the seller bought their
            goods. They are either selling gray market goods retail
            arbitrage, or liquidation goods.9

                76.       Inauthentic is a term loosely defined by Amazon
            that often confuses sellers who receive this type of complaint.
            According to seller policies, inauthentic items are not quite
            counterfeit. In the eyes of Amazon, inauthentic items are not
            completely fake, but they are part of a gray market category
            that can get quite complicated. This gray market can be hit or
            miss – regardless, when Amazon chooses to flag your item as
            potentially inauthentic, it means that the product has
            allegedly been purchased from a source that is not authorized
            to sell it.10

                77.      [I]nauthentic complaints are also often created
            as a means to eliminate competition on the Amazon
            platform, when made by other sellers. Although these
            complaints are baseless for the most part, this is not always
            the case. Therefore, each must be taken seriously and acted on
            immediately. Reaching out to the complainant personally (or
            via an attorney) is always the best way to approach an
            inauthentic product complaint and it is typically what
            Amazon instructs sellers to do.11

                78.      Lots of sellers receive policy warnings due to
            inauthentic complaints. The particular wording of inauthentic
            item complaints or counterfeit items then triggers manual


       https://egrowthpartners.com/why-do-so-many-amazon-sellers-get-
       9

  suspended-for-inauthentic/ (last visited Dec. 26, 2019).

       https://www.amazonsellerslawyer.com/inauthentic-item-
       10

  complaints/ (last visited Dec. 26, 2019).

        https://www.payability.com/blog/10-reasons-amazon-sellers-are-
       11

  suspended/ (last visited Dec. 31, 2019)(emphasis added).


                                            23
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              investigations. Those reliably lead to a suspension of your
              Amazon seller account if investigators identify any item
              quality patterns or systemic problems. Seller Performance
              teams suspend both individual listings and entire accounts on
              a daily, if not hourly, basis. If Amazon investigators see no
              annotations on the account that reflect action on your part to
              research past inauthentic complaints and improve the quality
              of your inventory, then they know you haven’t paid attention.
              Now the suspension forces you to.12

   VI.         THE ROAD TO INNOVATION - CALMEROOS’ PUPPY

         79.        Defendants’ unprofessional business tactics created an

  opportunity to improve their companion puppy. For instance, Plaintiff

  Calmeroos began selling on Amazon in 2015, distributed SmartPetLove’s

  puppy for several years, and contributed to the puppy’s online sales

  presence. However, Defendants disregarded Plaintiff’s contributions,

  severed all distribution relationships, and revoked their sales agreement

  with Plaintiff. Resultingly, Plaintiff sought to improve a 22-year-old

  design with customer feedback, new technology, and a fresh passion

  infused into the novel redesign. McPherson Decl. ¶ 9, Exhibit 1.




         https://www.ecommercechris.com/amazon-seller-invoices/ (last
         12

  visited Dec. 26, 2019).



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            A. History of Selling on Amazon.

      80.        As background, Ms. McPherson, owner of Plaintiff

  Calmeroos, first learned about selling products on Amazon in October of

  2015. The idea intrigued her because it appeared to offer flexibility and

  great earning potential. After leaving her corporate finance career in 2012

  to be a stay-at-home mom, she embraced her ever-growing entrepreneurial

  spirit, and found the flexibility her home enterprise created enticed her

  even more. From October 2015 until January 2017, she sold a variety of

  products on Amazon.com. McPherson Decl. ¶ 10, Exhibit 1.

            B. Selling Snuggle Puppies from SmartPetLove.

      81.        In February of 2017, Ms. McPherson discovered a product

  called Snuggle Puppy, made by a company called Snuggle Pet Products,

  LLC DBA SmartPetLove. Ms. McPherson reached out to the company to

  begin selling their products as a wholesaler. Ms. McPherson signed their

  MAP Agreement on February 2, 2017,13 and began ordering their products

  to re-sell on Amazon, with their permission. McPherson Decl. ¶ 11,

  Exhibit 1.




       13   Exhibit 2, (Signed SmartPetLove MAP Agreement).



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      82.         On January 23rd, 2018, Ms. McPherson received an email from

  Maggie Fanslow,14 Plaintiff’s contact at SmartPetLove, informing her that

  SmartPetLove was no longer allowing any third-party sellers to sell its

  products on Amazon since they were having difficulty controlling their

  pricing. McPherson Decl. ¶ 12, Exhibit 1.

      83.         Ms. McPherson pleaded her case back to Maggie explaining

  that she had always respected their MAP pricing and asked if they would

  allow her to be their exclusive third-party seller on Amazon. On February

  5, 2018, Ms. McPherson received an email response from Maggie15

  indicating that SmartPetLove had decided to allow her to be their

  exclusive third-party seller due to Ms. McPherson’s excellent track record

  with the company. McPherson Decl. ¶ 13, Exhibit 1.

      84.         Ms. McPherson continued to sell SmartPetLove products until

  June of 2018. On June 8, 2018, Ms. McPherson received an email from

  Chris Beyersdorff,16 the company CFO, explaining that they were no




       14   Exhibit 3, (emails).
       15   Exhibit 3, (emails).
       16   Exhibit 3, (emails).



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  longer allowing any third-party sellers to sell on Amazon, and that now

  included her. Since her entire Amazon business was selling SmartPetLove

  products, this decision put Plaintiff in a difficult financial situation.

  McPherson Decl. ¶ 14, Exhibit 1.

            C. From SmartPetLove Distributor to Pet-Calming Calmeroo
               Innovator.

      85.        Plaintiff contributed to SmartPetLove’s sales and profits by

  distributing its products wholesale for several years. With SmartPetLove’s

  permission, Plaintiff sold the products exclusively on Amazon.com.

  Plaintiff’s professionalism, work ethic, and adamant adherence to

  SmartPetLove’s policies, such as MAP, ensured that both her company and

  SmartPetLove remained on good terms. SmartPetLove never cited any

  issues with their loyal distributor. McPherson Decl. ¶ 15, Exhibit 1.

      86.        Without warning, in or around June 2018, SmartPetLove

  canceled its permission and ceased all third-party online sellers’ sales,

  including those of Plaintiff’s. With such unprofessional tactics, Ms.

  McPherson sought to improve the prior puppy design and developed,

  tested, and implemented her own product. As a distributor, she immersed

  herself in customer service concerning SmartPetLove’s product sales. That

  is, she reviewed all customer feedback and found many aspects to improve


                                           27
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  quality in the product. Similarly, as a pet owner and lover, she has first-

  hand knowledge of the relationship between her pets and SmartPetLove’s

  puppy. McPherson Decl. ¶ 16, Exhibit 1.

      87.        Additionally, since SmartPetLove’s puppy had largely

  remained unchanged for the past 22 years, innovations in technology and

  Ms. McPherson’s experience allowed her to improve virtually every aspect

  of her calming puppy companion. McPherson Decl. ¶ 17, Exhibit 1. Even

  SmartPetLove’s CEO, Defendant Emery admits that the Snuggle Puppy

  was innovative 22 years ago. See https://www.smartpetlove.com/

  2019/11/14/snuggle-puppy-celebrates-22-years/ (last visited Dec. 26,

  2019)(‘‘For 22 years, the Snuggle Puppy has been a game changer for pets

  and pet parents,’ said Rob Emery, CEO . . . .”).

            D. Deciding to Create Calmeroos.

      88.        Ms. McPherson truly loved the impact that pet-calming

  devices had on pets, as she discovered due to customer reviews, and

  feedback. She knew there was room for product improvement and sought

  to create her own version. McPherson Decl. ¶ 18, Exhibit 1.

      89.        Ms. McPherson incorporated Wanna Play Products Inc. on




                                         28
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  January 1st, 201917, which would become the owner of the brand

  Calmeroos. McPherson Decl. ¶ 19, Exhibit 1. At the time, Ms. McPherson

  also applied for trademark protection to her brand, Calmeroos18.

      90.        In October 2018, Ms. McPherson began contacting suppliers in

  China to begin the process of producing her own product, Calmeroos. She

  reached out to three separate factories – one each for the plush, heartbeat

  and heat packs. She sketched her ideas and sent her drawings to the

  factories.19 McPherson Decl. ¶ 20, Exhibit 1.

      91.        From October 2018, until October 2019, Ms. McPherson was

  designing and having her products manufactured. Calmeroos, the

  comforting puppy, finally arrived in the USA on November 6th, 2019. Ms.

  McPherson personally flew from Winnipeg to California to inspect her

  shipment to ensure a high-quality product. After meeting her strictest

  standards, Ms. McPherson shipped them into Amazon FBA, and they

  became available on November 27, 2019. McPherson Decl. ¶ 21, Exhibit 1.




       17   Exhibit 4, (AOI - Wanna Play Products Inc.).
       18   Exhibit 6 (Calmeroos Trademark Appl’n).
       19   Exhibit 5, pp. 6-7 (Calmeroos Improvements).



                                           29
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            E. Product Improvements.

      92.        Ms. McPherson wanted to make Calmeroos the best pet-

  calming device on the market. Her thoughtfully-designed improvements

  applied to virtually every aspect including –

              a. improving disposable heat packs were very long-lasting at 36
                 hours each (50% increase over Defendants’ product);

              b. including 2 heat packs (100% increase over Defendants’
                 product);

              c. substituting a plush that was realistic in both look and
                 positioning; and

              d. increasing heart’s motor’s efficiency to last a full 3 weeks on
                 continuous use with 2-AAA batteries (50% increase over
                 Defendants’ product).

  See McPherson Decl. ¶ 22, Exhibit 1; see also Exhibit 11,

  (Products)(depicting Plaintiff’s Calmeroos product to Defendants).

      93.        If these improvements weren’t enough, Ms. McPherson

  endeavored to give back to pets in need. For every Calmeroos sold, she

  donates the financial equivalent of 2 pounds of pet food to rescue shelters.

  She has also donated many Calmeroos to rescue shelters and will continue

  to do so. McPherson Decl. ¶ 23, Exhibit 1.

      94.        To applaud her efforts, the rescues’ feedback has been

  excellent, and they appreciate how Calmeroos help their puppies



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  overcome loneliness and feel comforted. McPherson Decl. ¶ 24, Exhibit 1

  see also Exhibit 3, (emails).

            F. Press for Calmeroos.

      95.        Three different news outlets, including the Winnipeg Free

  Press (full page of the Life and Style section as well as online), the

  Winnipeg Sun (full page on page three of paper and online), as well as

  Better Homes and Gardens online showcased the new Calmeroos. See, e.g.,

            • https://www.winnipegfreepress.com/arts-and-life/life/a-pet-
              for-a-pet-564817142.html

            • https://winnipegsun.com/news/local-news/local-
              entrepreneur-develops-pet-calming-product-for-puppies-
              kittens

            • https://www.bhg.com/news/calmeroos/

  McPherson Decl. ¶ 25, Exhibit 1.

            G. Calmeroos’ Puppy’s Amazon.com and Amazon.ca Listings.

      96.        In the United States, Plaintiff sells its Calmeroos Puppy on

  Amazon.com as Calmeroos Puppy Heartbeat Toy Sleep Aid with 2 Long-Lasting

  Heat Packs Last 36 Hours Each Puppy Anxiety Relief Soother Dogs Cuddle

  Snuggle Calming Behavioral Aid for Pets (‘Accused Puppy’).20 Plaintiff’s



        https://www.amazon.com/Calmeroos-Heartbeat-Snuggle-
       20

  Anxiety-Behavioral/dp/B07NDQLB2Z (last visited Feb. 25, 2020).


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  Amazon.com ASIN is B07NDQLB2Z.

         97.        In Canada, Plaintiff sells its Calmeroos Puppy on Amazon.ca

  as Calmeroos Puppy Heartbeat Toy Sleep Aid with 2 Long-Lasting Heat Packs

  Last 36 Hours Each Puppy Anxiety Relief Soother Dogs Cuddle Snuggle Calming

  Behavioral Aid for Pets.21 Plaintiff’s Amazon.ca ASIN is B07RT6PPZJ.

  VII.         CALMEROOS KITTY

         98.        Plaintiff also sells its Calmeroos Kitty online.




               A. Calmeroos Kitty’s Development and Design.

         99.        The Calmeroos Kitty shares many similarities as its Calmeroos




        https://www.amazon.ca/Calmeroos-Heartbeat-Snuggle-Anxiety-
         21

  Behavioral/dp/B07RT6PPZJ (last visited Feb. 25, 2020).


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  Puppy counterpart. In fact, besides packaging and the Kitty’s plush kitty

  exterior, both products are the same.




                       Calmeroos’ Kitty           Calmeroos’ Puppy

      100.       Importantly, Calmeroos Kitty includes the same heart as its

  Puppy’s counterpart. And, like the Puppy’s heart, the Kitty’s heart does

  not breathe.




      Calmeroos’ Kitty Heart     SmartPetLove’s Heart Calmeroos’ Puppy Heart



                                          33
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            B. Calmeroos’ Kitty’s Amazon.com and Amazon.ca Listings.

      101.       In the United States, Plaintiff sells its Calmeroos Kitty on

  Amazon.com as Calmeroos Kitty Heartbeat Toy Sleep Aid with 2 Long-Lasting

  Heat Packs Last 36 Hours Each Kitten Puppy Anxiety Relief Soother Cats and

  Dogs Cuddle Snuggle Calming Behavioral Aid for Pets.22 Plaintiff’s

  Amazon.com ASIN is B07QS82Y4N.

      102.       In Canada, Plaintiff sells its Calmeroos Kitty on Amazon.ca as

  Calmeroos Kitty Heartbeat Toy Sleep Aid with 2 Long-Lasting Heat Packs Last 36

  Hours Each Kitten Puppy Anxiety Relief Soother Cats and Dogs Cuddle Snuggle

  Calming Behavioral Aid for Pets.23 Plaintiff’s Amazon.ca ASIN is

  B07RWP4LKJ.

            C. Defendants’ Threats of Infringement.

      103.       To date, Defendants have filed any Intellectual Property

  Report or other complaint related to Calmeroos’ Kitty. However, since the

  Kitty shares many features of the Puppy, should the Puppy infringe

  SmartPetLove’s intellectual property, the Kitty may as well.



        https://www.amazon.com/Calmeroos-Heartbeat-Snuggle-
       22

  Anxiety-Behavioral/dp/B07QS82Y4N (last visited Feb. 25, 2020).
       23https://www.amazon.ca/dp/B07RWP4LKJ/ref=smop_skuctr_
  view (last visited Feb. 25, 2020).


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 VIII.        CALMEROOS’ TIMELINE OF DEFENDANTS’ PERFIDY

         104.       November 27, 2019 - Plaintiff’s Calmeroos first began selling

  on Amazon. McPherson Decl. ¶ 26, Exhibit 1.

         105.       November 27, 2019 – Present - Ms. McPherson immediately

  enjoyed her product launches’ success and sales continued to grow day

  after day. McPherson Decl. ¶ 27, Exhibit 1.

              A. Accusations of Patent Infringement.

         106.       November 29th, 2019 - Upon information and belief,

  Defendant Emery, the owner of Snuggle Pet Products, LLC, ordered

  Plaintiff’s Calmeroos Puppy product to be shipped to his home address in

  Florida.24

         107.       December 3, 2019 - Amazon sent Plaintiff two emails one

  hour a part indicating that SmartPetLove filed Amazon Complaints

  against its competitor, Calmeroos.25

              B. Defendants’ False Product Review.

         108.       December 11th, 2019 – Upon information and belief,

  Defendant Emery or Defendant DOE 1 left a one-star product review on


         24   Exhibit 7, (Reviews).
         25   Exhibit 3, (emails).



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  Calmeroos Product listing that said “Another knock-off of the original

  Snuggle Puppy. Go with the original you will not be let down.”26

              C. Defendants’ False Seller Review.

         109.       December 14, 2019 - Upon information and belief, Defendant

  Emery or Defendant DOE 1 left a one-star Seller Feedback review which

  read exactly the same way “Another knock-off of the original Snuggle

  Puppy. Go with the original you will not be let down.”27

              D. Defendants Accuse Plaintiff’s Calmeroos Puppy of Being an
                 Inauthentic Plaintiff’s Calmeroos Puppy.

         110.       December 20, 2019 – Plaintiff’s most successful listing, the

  Calmeroos Puppy listing, was shut down due to Defendants’ multi-prong

  attack.28

   IX.        DEFENDANTS’ FAKE PATENTS ASSERTED AGAINST
              PLAINTIFF

         111.       SmartPetLove’s Amazon Complaints are patently false

  because its asserted patents are not registered, valid, and enforceable US

  patents.



         26   Exhibit 7, (Reviews).
         27   Exhibit 7, (Reviews).
         28   Exhibit 3, pp. 21-22 (emails).



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      112.       Those Complaints allege that Plaintiff Calmeroos sold its

  Calmeroos Puppy Heartbeat Toy Sleep Aid with 2 Long-Lasting Heat Packs Last

  36 Hours Each Puppy Anxiety Relief Soother Dogs Cuddle Snuggle Calming

  Behavioral Aid for Pets29 (‘Accused Puppy’), and such sales infringe

  SmartPetLove’s registered patents. Those patent numbers vary from its

  first Complaint (‘Patent number: Certificate No. 544552’) to its second

  Complaint (‘Patent number: 5445522’)(collectively, ‘Falsely Asserted

  Patents’).

            A. Defendant SmartPetLove Falsely Claims Patent Infringement.

      113.       On December 3, 2019, Calmeroos received a performance

  notification from Amazon.com’s Seller Performance Team. Upon

  information and belief, one of the Defendants filed an Amazon Complaint

  concerning –

            Info SPL
            info@smartpetlove.com
            Patent number: Certificate No. 544552

            ASIN: B07NDQLB2Z
            Title: Calmeroos Puppy Heartbeat Toy for Smart Pets Who Love to
            Snuggle and 2 Heat Packs Puppy Anxiety Relief


        https://www.amazon.com/gp/product/B07NDQLB2Z?pf_rd_p=
       29

  ab873d20-a0ca-439b-ac45-cd78f07a84d8&pf_rd_r=
  J511E1GCG7QVMTM5HKXN (last visited Dec. 13, 2019).



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            Calming Behavioral Aid for Pets
            Complaint ID: 663940464130

      114.       Within an hour, and upon information and belief, Defendant

  Bakke also filed a Complaint concerning -

            Jason Bakke
            info@smartpetlove.com
            Patent number: 5445522

            ASIN: B07NDQLB2Z
            Title: Calmeroos Puppy Heartbeat Toy for Smart Pets Who Love to
            Snuggle and 2 Heat Packs Puppy Anxiety Relief
            Calming Behavioral Aid for Pets
            Complaint ID: 663955056131

            B. Defendants’ First Falsely Asserted Patent Expired Over 100
               Years Ago.

      115.       One of the Defendants’ first Falsely Asserted Patent (‘Patent

  number: Certificate No. 544552’) was indeed registered . . . in 1895, over a




        Exhibit 8, p. 14 (Letter to Defendants) - Amazon Policy Violation
       30

  Performance Notification, (Amazon Notice)(Complaint ID: 6639404641)).

        Exhibit 8, p. 15 (Letter to Defendants) - Amazon Policy Violation
       31

  Performance Notification, (Amazon Notice 2)(Complaint ID: 6639550561).



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  full century ago32 and unsurprisingly was not owned by any Defendant.33

            C. Defendant Bakke’s Second Falsely Asserted Patent Relates to
               Combustion Engine, Not Puppies.

      116.       Inspecting Defendant Bakke’s second Falsely Asserted

  Patent34, a cursory review of ‘Patent number: 5445522’ within the USPTO’s

  Patent Full-Text and Image Database (PatFT) returned an expired patent,

  titled ‘Combustion device,’ which registered in 1995.35 Again, none of the

  Defendants owned this patent either.

      117.       In sum, and upon information and belief, Defendant Bakke

  asserted a patent that was registered in 1895 and one directed to a

  ‘Combustion device’ against Calmeroos’ puppy sleep aid. Neither patent is




        http://patft.uspto.gov/netacgi/nph-
       32

  Parser?Sect1=PTO1&Sect2=HITOFF&d=PALL&p=1&u=%2Fnetahtml%2F
  PTO%2Fsrchnum.htm&r=1&f=G&l=50&s1=0544552.PN.&OS=PN/054455
  2&RS=PN/0544552 (last visited Dec. 13, 2019).

        Exhibit 8, p. 14 (Letter to Defendants) - Amazon Policy Violation
       33

  Performance Notification, (Amazon Notice)(Complaint ID: 6639404641)).

        Exhibit 8, p. 15 (Letter to Defendants) - Amazon Policy Violation
       34

  Performance Notification, (Amazon Notice 2)(Complaint ID: 6639550561).

        http://patft.uspto.gov/netacgi/nph-
       35

  Parser?Sect1=PTO1&Sect2=HITOFF&d=PALL&p=1&u=%2Fnetahtml%2F
  PTO%2Fsrchnum.htm&r=1&f=G&l=50&s1=5445522.PN.&OS=PN/544552
  2&RS=PN/5445522 (last visited Dec. 13, 2019).



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  enforceable. Neither patent is owned by any Defendant.

    X.        DEFENDANTS’ FALSE DECLARATIONS

              A. Defendants’ False Declarations to Amazon.com, Inc.

         118.       Defendants’ patent infringement claims are baseless and

  violate their declarations made to Amazon.com, Inc. when Defendants

  filed their reports –

                  I have a good faith belief that the content(s) described
              above violate(s) my rights described above or those held by
              the rights owner, and that the use of such content(s) is
              contrary to law.

                 I declare, under penalty of perjury, that the information
              contained in this notification is correct and accurate and that I
              am the owner or agent of the owner of the rights described
              above.36

         119.       Nevertheless, as a result of Defendants’ fraudulent Amazon

  Complaints, Amazon suspended Plaintiff’s puppy offerings so that they

  were/are no longer available to Amazon.com customers.

         120.       Defendants’ fraudulent and bad-faith complaints, and their

  resulting suspension, have materially affected potential purchasers

  because they no longer had the option to purchase authentic Calmeroos



         See Amazon’s Report Infringement Form available at
         36

  https://www.amazon.com/report/infringement (last visited Feb. 25,
  2020).


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  Puppies.

      121.     Additionally, as a result of Defendants’ fraudulent and bad-

  faith complaints, Calmeroos has suffered extensive loss of sales, loss of

  goodwill, and exposure to frozen assets.

         B. False Declaration Concerning Snuggle Puppy’s Registration
            Status.

      122.     In an email dated February 3, 2019, counsel for Defendants

  stated that, “My client’s Snuggle Puppy® is the original pet anxiety

  reducing product with a heartbeat which has been on the market for over

  30 years.”

      123.     Contrary to counsel’s assertion, SmartPetLove does not hold a

  federal registration for the word mark “Snuggle Puppy.” Rather,

  SmartPetLove has a pending federal application for “Snuggle Puppy”

  which has been published for opposition. See U.S. Trademark App’n Serial

  No. 88620933.

      124.     SmartPetLove is the assignee of record for U.S. Trademark

  Reg. No. 4,465,254 for “Snuggle Puppie,” which upon information and

  belief, has not been used in commerce by SmartPetLove for a period of

  greater than two years.




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   XI.      NEGATIVE PRODUCT REVIEW AND INAUTHENTIC
            COMPLAINT BY AN ANONYMOUS INDIVIDUAL OR ENTITY

         125.   Although Plaintiff suspected Defendant DOE 1 is Defendant

  Emery or Defendant Bakke, Calmeroos has made several non-judicial

  attempts to ascertain the real individuals behind Defendant DOE 1. None

  of its efforts have been successful. For this reason, Plaintiff must, again,

  turn to judicial options.

         126.   Upon information and belief, Defendant DOE 1 does not use

  its real name with Amazon.

         127.   Upon information and belief, Defendant DOE 1 is working in

  concert to eliminate competition to SmartPetLove. Defendant Doe 1 has

  voluntarily and intentionally devised and participated in a scheme to

  defraud Calmeroos out of money.

         128.   Upon information and belief, Defendant DOE 1 intended to

  defraud Plaintiff out of money through its pattern of purchasing,

  returning, and leaving negative reviews. Upon further information and

  belief, Defendant DOE 1 has defrauded Calmeroos out of money by

  submitting bogus inauthenticity claims with Amazon.

         129.   Defendant DOE 1’s actions prevented Calmeroos from selling

  its inventory to actual customers, from purchasing additional inventory,


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  and from having an untarnished Amazon seller rating.

         130.      Upon information and belief, Defendant DOE 1 has used e-

  mail addresses, the Internet, interstate mail, and other communications to

  further its conspiracy.

         131.      Upon information and belief, Defendant DOE 1 has a business

  relationship with Amazon.com, Inc.

  XII.        SUSPECTED DEFENDANT EMERY’S BOGUS REVIEWS AND
              ONLINE STALKING

         132.      Defendants have sold the same product for decades. ‘‘For 22

  years, the Snuggle Puppy has been a game changer for pets and pet

  parents,’ said Rob Emery, CEO.”37

         133.      Upon information and belief, SmartPetLove’s CEO, Defendant

  Emery, just started following Calmeroos on Instagram to further torment

  Plaintiff. McPherson Decl. ¶ 28, Exhibit 1.

              A. Calmeroos’ Perfect Feedback Except Defendants’ One-star
                 Review.

         134.      Many happy clients have shared highlights of Ms.

  McPherson’s contributions to Calmeroos’ benefits over Snuggle Puppy’s




         https://www.smartpetlove.com/2019/11/14/snuggle-puppy-
         37

  celebrates-22-years/ (last visited Dec. 31, 2019).


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  22-year-old design. As one instance, one commented about Calmeroos’

  high product quality.38

      135.      As another, Calmeroos’ life-like attributes have emotionally

  assisted those in need.39 In fact, a foster pet parent who received a donated

  Calmeroos, submitted a stellar review, and in the comments, another foster

  donation recipient praised Calmeroos’ efficacy. As a result, several

  potential customers then sought more purchasing information.

      136.      As yet another, a client raved that her Calmeroos has greatly

  assisted for her foster puppy in adjusting to a new environment.40

      137.      Finally, another customer shared a photo of their dog

  snuggled up to Calmeroos. Undoubtedly, Plaintiff’s product works and

  when people hear about it, they want one too.

            B. Defendant DOE 1’s Damaging Effect.

      138.      In particular, Defendant DOE 1 has defamed Plaintiff by



        Exhibit 7, (Reviews)(Dec 19, 2019 - Rescue Feedback on high quality,
       38

  donation highlights feedback about the high product quality.).

        Exhibit 7, (Reviews)(Dec 17, 2019 - Rescue review plus comments
       39

  with customer interest and more reviews.).

       Exhibit 7, (Reviews)(Dec 12, 2019 - Customer Review for Foster
       40

  Puppy).



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  falsely and publicly stating that Plaintiff’s Accused Puppy is of poor

  quality. Defendant DOE 1’s assertions, considered in context, necessarily

  imply a false message and are literally false in that they state or imply that

  Plaintiff’s Accused Puppy are of poor quality. As such, Defendant DOE

  1’s statements deceived, or had the capacity to deceive Amazon.com and

  purchasers on the Amazon.com platform.

      139.     In light of consumer expectations for reviews and Amazon

  policies governing reviews, Defendant DOE 1 in leaving reviews for

  Calmeroos as a seller and for Calmeroos’ puppy product made a number

  of additional false statements by implication: that DOE 1 was a neutral

  party; that DOE 1 was giving an unbiased review; that DOE 1 was not the

  employee, agent, friend, or family member of a competitor of Calmeroos;

  and that DOE 1 cared principally about the quality of Calmeroos’ product

  and would have rated it highly if the quality were good.

      140.     Defendant DOE 1 intended to make these false statements and

  intended for consumers and for Amazon itself to act in reliance upon

  them.

      141.     Defendant DOE 1’s false and defamatory statements are

  designed to interfere with and injure Plaintiff in connection with its



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  business and to promote Defendant DOE 1’s own business agenda. This

  wrongful and tortious conduct perpetrated by Defendant DOE 1 has

  disparaged Plaintiff and is causing and will continue to cause Plaintiff

  irreparable harm and damages.

      142.     Defendant DOE 1’s false and defamatory statements have also

  caused tortious interference with Plaintiff’s contractual obligations with

  Amazon.com Inc. and its customers.

      143.     The false and/or misleading statements of Defendant DOE 1

  misrepresent the characteristics of Plaintiff’ s Accused Puppy suggesting

  that they are of poor quality.

      144.     Due to Defendant DOE 1’s fraudulent actions, Plaintiff is

  entitled to injunctive relief prohibiting Defendant DOE 1 from tortiously

  interfering with Plaintiff’s contractual and business relations, as well as an

  award of monetary damages, punitive damages, attorney’s fees, and costs

  to be proven at trial.

      145.     In addition to Defendants’ lack of patent knowledge, they also

  fail to understand significance of using a legal term such as ‘knock off’

  when Defendants made the following Amazon customer review on

  December 11, 2019 (‘Dec. 11 Review’) against Calmeroos –



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  Accused Puppy.41

      146.         As an aside, “3 people found this helpful,” which translates in

  to lost sales.

      147.         However, knock-offs usually relate to trademark infringement

  as opposed to patent

  infringement Complaints.

  And, ‘knock-offs’ carry special

  meaning, especially when

  used in the legal sense. For

  instance, the Second Circuit in

  Hermes Int’l v. Lederer de Paris Fifth Ave., Inc., found that knock-offs are a



        https://www.amazon.com/gp/product/B07NDQLB2Z?pf_rd_p=
       41

  ab873d20-a0ca-439b-ac45-cd78f07a84d8&pf_rd_r=
  J511E1GCG7QVMTM5HKXN (last visited Dec. 13, 2019).



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  ‘cheap [] copy of the original manufacturer’s more expensive product, thus

  allowing a buyer to acquire the prestige of owning what appears to be the

  more expensive product.’ 219 F.3d 104, 108 (2d Cir. 2000).

      148.     Here, nothing suggests that the Accused Puppy is a knock-off.

  For example, the Accused Puppy’s cost is similar to the original Snuggle

  Puppy (see right).42

      149.     Moreover, once one actually inspects the meticulous

  packaging, build quality, and overall experience of the two dogs, any

  objective consumer would not deem Plaintiff’s Accused Puppy inferior or

  a knock-off of Defendants original Snuggle Puppy. In fact, the Calmeroo is

  actually more luxurious than Defendants’.




      150.     Indeed, the presentations vastly different, and the actual




        https://www.amazon.com/s?k=snuggle+puppy&ref=nb_sb_
       42

  noss_1 (last visited Dec. 13, 2019).



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   quality of the products differ. Not only does the original Snuggle Puppy

   lack accessories, even the one included, the Heat Pack seems expired, stale,

   or otherwise unusable.




          151.   Defendants’ ‘review’ was nothing short of another tactic to

   disrupt Plaintiff Calmeroos’ business.

          152.   Upon information and belief, Defendants have a business

   relationship with Amazon.com, Inc.

  XIII.      DEFENDANT DOE 1’S INAUTHENTIC CLAIM

          153.   Upon information and belief, Defendant DOE 1 has a business

   relationship with Amazon.com, Inc. Using ‘knock-off’ is a trigger word to


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  alert Amazon and have it intervene. McPherson Decl. ¶ 29, Exhibit 1.

      154.        On December 20, 2019, in addition to the publicly viewable

  one-star seller feedback rating, and the threat of deactivation due to the

  Order Defect Rate, caused entirely by the one negative review, Calmeroo’s

  most successful listing, the Calmeroos Puppy listing, was shut down due

  to claims of inauthenticity.43

      155.        Through research, Ms. McPherson has reason to believe that

  Amazon’s algorithm identifies listings and shuts them down if any

  product reviews or seller feedback reviews mention the words ‘knock-off.’

  Ms. McPherson has been forced to submit an appeal to the Amazon Seller

  Performance Team requiring her to explain her Plan of Action, and to

  reveal all of her suppliers’ information in order to even be considered for

  reinstatement. Ms. McPherson lost sales every hour following the claim.

  McPherson Decl. ¶ 30, Exhibit 1.

      156.        Regardless of settlement, Defendants’ damage that has been

  done to Plaintiff Calmeroos’ Amazon seller account will be irreversible.




       43   Exhibit 3, (emails).



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  XIV.      THIS FIRM’S GOOD FAITH EFFORTS TO RESOLVE

         157.   After Defendants’ wrongdoings, Calmeroos began losing

  significant revenue. When coupled with Defendants’ complete lack of

  professionalism, Ms. Crystal McPherson hoped for an amicable resolution.

  McPherson Decl. ¶ 31, Exhibit 1.

         158.   Calmeroos incrementally sought resolution. Calmeroos even

  hired a patent litigation firm to communicate past efforts, willingness to

  settle, and the dire state of Calmeroos’ business. McPherson Decl. ¶ 32,

  Exhibit 1.

         159.   This firm began such efforts by writing to Defendants in

  December 2019. See McPherson Decl. ¶ 33, Exhibit 1; see also letter from

  Mr. Jeff Breloski, attorney to Calmeroos, to Defendants (Dec. 16, 2019),

  Exhibit 8, (Letter to Defendants).

         160.   In total, after lost business, resources used to hire consultants

  and attorneys, and precious time wasted, Defendants still have not

  admitted their Falsely Asserted Patents, explained their infringement

  contentions, or provided Calmeroos with any reasonable settlement

  demands. McPherson Decl. ¶ 34, Exhibit 1.




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  XV.      EXTRAORDINARY CIRCUMSTANCES

        161.   Defendants’ bogus complaints, refusal to timely withdraw in

  the face of fraud, and holiday sales timing have accomplished their

  intended effects – unfairly destroy their competition.

           A. Defendants and Counsel Ignore Longstanding Law.

        162.   SmartPetLove does not own the Falsely Asserted Patents.

        163.   SmartPetLove’s bad-faith assertion that Plaintiff’s Calmeroos

  Puppy ‘will infringe [SmartPetLove’s] design and utility patents’ is an

  anti-competitive scare-tactic intended to stop Plaintiff from fairly

  competing with SmartPetLove.

        164.   SmartPetLove and its attorney knew or should have known

  that their accusations were false and groundless.

        165.   Defendants’ statement transmitted to Amazon, combined with

  the Defendant DOE 1’s false reviews, has led consumers to believe that

  they can be sued for purchasing products from Plaintiff and that Plaintiff’s

  products are counterfeit and unlawful.

        166.   Upon information and belief, Defendants published their false

  and defamatory statements for a commercial purpose: to help Defendants

  monopolize the market for a certain category of puppies on Amazon and




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  to prevent Plaintiff from fairly competing.

      167.    The false or misleading statements of the Defendants were

  also made in the context of ‘commercial advertising or promotion,’ as used

  in Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a). These statements

  have resulted substantial and irreparable damage to Plaintiff’s business,

  reputation, and goodwill.

         B. Calmeroos Suffers Immeasurable Lost Sales.

      168.    Notably, and upon information and belief, Defendants’

  calculated wrongs commenced with the 2019 holiday shopping season.

  During the Georgia Lawsuit, Plaintiff’s Calmeroos Puppy, ASIN

  B07NDQLB2Z, was removed from the Amazon US market.

      169.    Upon receiving notice, Calmeroos immediately began its

  resolution attempts to salvage sales during the holiday shopping season.

  With the busy holiday shopping season beginning, Calmeroos respectfully

  requested a response in time to sell during this record-setting holiday rush.

  See Black Friday, Thanksgiving Day Both Set Records in U.S. Ecommerce

  Sales by Mike O’Brien (Nov. 30, 2019)44


     44 https://multichannelmerchant.com/ecommerce/black-friday-
  thanksgiving-day-set-records-u-s-ecommerce-sales/ (last visited Dec. 22,



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           Thanksgiving Day ecommerce sales were also a record $4.2
           billion, an increase of 14.5%, marking the first time it
           surpassed the $4 billion mark. Large ecommerce companies of
           $1 billion and over saw a 244% gain in Thanksgiving Day
           ecommerce sales, while smaller retailers – those with $50
           million or less in annual sales – saw a 61% increase.

  Id.

        170.    Calmeroos’ suspensions spanned over the busy holiday

  shopping season due to Defendants’ lack of good faith.

           C. Defendants’ Exploits Result in a Temporary Restraining Order
              and Preliminary Injunction.

        171.    To date, Defendants refuse to withdraw any complaints. Such

  a stubborn stance is particularly egregious as all negative actions are bogus

  and unsupported.

        172.    Upon information and belief, Defendants have attempted to

  eliminate their competition by utilizing the online Amazon infringement

  report and force them to stop competing without any non-judicial

  recourse.

        173.    Each day that passed resulted in increased damages.

  McPherson Decl. ¶ 35, Exhibit 1.




  2019).



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      174.     Defendants have failed to respond in any meaningful manner.

  Exhibit 10, (2019.12.20 - CALMEROOS LETTER).

      175.     By failing to cooperate and resolve the complaints, and

  despite repeated requests, Defendants have effectively and unfairly

  received a preliminary injunction leaving Calmeroos without recourse.

  That is, Calmeroos was temporarily restricted from selling its Accused

  Puppy on Amazon. Further, Defendants are unfairly preventing

  Calmeroos from curing any potential infringement.

      176.     To put the severity of their action into perspective, a

  comparison of this complaint to a district court action is necessary. Before

  a court, a preliminary injunction is a drastic and extraordinary remedy that

  is infrequently granted in patent infringement actions. See U.S. Pharm.

  Corp. v. Trigen Labs., Inc., No. 1:10–cv–0544–WSD, 2011 U.S. Dist. LEXIS

  13637, at *18 (N.D. Ga. Jan. 27, 2011). A party seeking temporary or

  preliminary injunctive relief must establish that: (1) there is a substantial

  likelihood that the movant will prevail on the merits; (2) the movant will

  suffer irreparable injury if the relief is not granted; (3) the threatened injury

  outweighs the harm the relief would inflict on the opposing party; and (4)

  if granted, the injunction would not be adverse to the public interest. See



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  Polymer Techs., Inc. v. Bridwell, 103 F.3d 970, 977 (Fed. Cir. 1996)(emphasis

  added); Skillern v. Ga. Dep’t of Corr., Civ. Act. No. 1:05-cv-2629, 2006 U.S.

  Dist. LEXIS 81878, at *15 (N.D. Ga. Nov. 7, 2006).

      177.     Moreover, a permanent injunction is only permissible after a

  final judgment, which occurs at the end of a litigation case. Once a

  guarantee after winning a patent case, the Supreme Court recently ruled

  that permanent injunctions are no longer automatic. Rather, a successful

  plaintiff must prove that (1) it will suffer an irreparable injury; (2)

  remedies available at law are inadequate to compensate for that injury; (3)

  the balance of hardships between the parties favors the plaintiff; and (4)

  the public interest would not be disserved. eBay Inc. v. MercExchange,

  L.L.C., 547 U.S. 391 (2006).

      178.     Both types of injunctive relief usually require overcoming

  high burdens of proof, providing adequate evidentiary support, and

  offering supporting expert testimony.

      179.     Contrastingly, here, Defendants have presumably filled out a

  single infringement form . . . with false information.

  https://www.amazon.com/gp/help/reports/ infringement (last visited

  Dec. 22, 2019). With no further evidence and no opportunity to respond,



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  they have effectively received injunctive relief without proving the need

  for such relief.

            D. Defendants’ Ongoing Crimes Endanger Plaintiff’s Livelihood.

      180.       Defendants have not retracted their negative Seller Feedback

  review, which has had grave consequences on Calmeroos’ seller account.

  First, its Order Defect Rate was severely affected, with a threat from

  Amazon that its account could be deactivated45 because the only negative

  feedback Plaintiff received (which was from Defendants) made the

  average Order Defects very high for the first few weeks, since it is

  calculated based on the negative feedback received compared to total

  overall orders received. McPherson Decl. ¶ 36, Exhibit 1.

      181.       Amazon’s target for their Order Defect Rate is under 1%, but

  Plaintiff’s quickly became 11.1% since the date range used to calculate the

  Order Defect Rate was from October 2, 2019 to November 30th, 2019.

  McPherson Decl. ¶ 37, Exhibit 1.

      182.       Plaintiff Calmeroos is currently below the target of under 1%,

  but the threat of deactivation is still looming on Calmeroos’ account.




       45   Exhibit 9 – (2019.12.20 - Order Defect Rate - Threat of Deactivation).



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  McPherson Decl. ¶ 38, Exhibit 1.

         E. Defendants’ Inaction.

             1. Defendant Jason Bakke

      183.     Upon information and belief, Defendant Jason Bakke filed his

  Amazon Complaint alleging infringement of Patent Number 544552 on or

  before December 3, 2019. See Exhibit 3, p. 9 (Emails)(Complaint ID:

  6639404641). Concurrently, and upon further information and belief, he

  filed another Amazon Complaint alleging infringement of Patent Number

  5445522. See Exhibit 3, p. 9 (Emails)(Complaint ID: 6639550561).

      184.     On December 16, 2019, Calmeroos’ counsel drafted a letter

  and served both Defendants Bakke and Emery. See Exhibit 15 (Georgia

  Lawsuit - Doc. 1-8)(Letter). Therein, counsel explained that Patent

  Number 544552 registered in the 1800s and was not owned by any

  Defendant. Similarly, counsel explained that Patent Number 554422

  registered in 1995, pertained to a “combustion device” and was not owned

  by any Defendant. Id.

      185.     At of the time of this filing, Defendant Jason Bakke has not

  retracted his complaints. As a result, Calmeroos’ Amazon account is “at

  risk of deactivation.” Exhibit 16 (Georgia Lawsuit - Doc. 1-9)(Notice).




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             2. Defendant Rob Emery

      186.     Upon information and belief, Defendant Rob Emery has filed

  an inauthentic claim against Calmeroos.

      187.     In the alternative, upon information and belief, Defendant

  DOE 1 has filed an inauthentic claim against Calmeroos.

      188.     The Defendant who filed the inauthentic claim against

  Calmeroos knew, or should have known, that Calmeroos-branded

  products sold by Calmeroos itself are by definition fully authorized

  Calmeroos products sourced according to Calmeroos’ own determination

  of optimal supply chain, and hence cannot be inauthentic.

      189.     Calmeroos products sold by Calmeroos are not represented to

  be the products of any other brand or company.

      190.     Even a casual inspection of Plaintiff Calmeroos’ product and

  packaging reveal its high quality relative to SmartPetLove’s toy puppy and

  does not reasonably support a conclusion of inauthenticity.

      191.     Upon information and belief, Defendant Emery has also not

  yet withdrawn his one-star seller feedback. The identical one-star product

  review was removed by Amazon after it was revealed that a competitor

  likely left the fraudulent review. When Ms. McPherson explained the



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  same thing with regards to the one-star seller feedback, Calmeroos’ listing

  was removed shortly thereafter due to a product inauthenticity claim.

  McPherson Decl. ¶ 39, Exhibit 1.

  XVI.      DEFENDANTS’ ALLEGATIONS AFTER FILING THE
            GEORGIA LAWSUIT

         192.    Upon information and belief, Defendants actually intended to

  cause harm by their false statements. This seems especially true when

  Defendants were given actual notice of the falsity of the claims but opted

  not to correct their published statement to Amazon.

            A. Invalidity of the ‘292 Patent.

         193.    As a first basis for invalidity, during prosecution of the ‘292

  Patent, applicant relied on the allegedly novel incorporation of a pressure-

  sensitive switch into his claimed structure to overcome anticipation by

  prior art Hoard et al. (US Patent Application Publication 2009/0156089).

         194.    Prior art Hoard et al. (US Patent Application Publication

  2009/0156089) disclosed a broad range of switches including “touch

  sensitive” switches contained within a toy animal for activating comforting

  animal sounds including simulated breathing.

         195.    Touch sensitive switches may be actuated by pressure.

         196.    As a second basis for invalidity, during prosecution of the ‘292


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  Patent, applicant relied on the fact that applicant’s claimed pressure-

  sensitive switch would encourage close contact between a toy pet and a

  real pet due to the switch being pet-operable by body weight.

      197.     In contrast to applicant’s reliance on his claimed pressure-

  sensitive switch being pet-operable, the claims of the ‘292 Patent do not

  expressly contain such a limitation.

         B. Non-infringement of the ‘292 Patent.

      198.     No Calmeroos product (Puppy or Kitty) incorporates a

  harness with a looped webbing encircling the neck, shoulders, and back of

  an animal.

      199.     No Calmeroos product contains a sound generator generating

  rhythmic soothing acoustic sounds that simulate actual animal breathing.

      200.     No Calmeroos product contains a pressure sensitive switch.

      201.     No Calmeroos product infringes the ‘292 Patent.

      202.     Calmeroos’ heart is activated by a sliding on/off toggle switch

  located on the heart’s back (shown below, left). The ‘292 Patent requires

  activation by a pressure-sensitive switch, which is featured on

  SmartPetLove’s heart (show below, right). SmartPetLove’s heart’s switch

  must be held down for a few seconds to turn it on, and it is located on the



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  front of their heart.


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            Calmeroos’ Heart Back                SmartPetLove’s Heart Front
               (sliding switch)                  (pressure-sensitive switch)




                                                                         47

             Calmeroos’ Heart Back (enlarged - depicting a sliding switch)



        https://www.amazon.com/SmartPetLove-Snuggle-Puppy-
       46

  Behavioral-Biscuit/dp/B0722XGRMB/ref=sr_1_1?keywords=
  smartpetlove&qid=1582668559&sr=8-1 (last visited Feb. 25, 2020).
       https://www.amazon.ca/Calmeroos-Heart-Replacement-Beating-
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  Puppy/dp/B07RT2Q1JP (last visited Feb. 25, 2020).


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         C. Unprotectable Trade Dress.

       185.    The heart shape of the removable insert within

  SmartPetLove’s plush toys is functional and cannot be protected as trade

  dress. That is, it wordlessly communicates a first purpose of the insert,

  which is to supply a simulated heart-beat.

       187.    Additionally, it wordlessly communicates a second purpose of

  the insert, which is to supply simulated companionship, comfort, and love.

       188.    Even leaving aside the functionality of SmartPetLove’s heart-

  shape for its simulated beating heart, Calmeroos’ own heart-beat

  simulating insert is emblazoned prominently with Plaintiff’s registered

  Calmeroos trademark, thus negating any possibility of consumer

  confusion.

         D. Non-Infringement of Unprotectable Trade Dress.

      203.     SmartPetLove’s and Calmeroos’ heart colors are different.

  Ms. McPherson intentionally chose a lighter, brighter red because she

  thought it looked more appealing then Snuggle Puppy’s darker red heart.

  McPherson Decl. ¶ 40, Exhibit 1.

         E. False Statements Regarding Foreign Registered Patents.

      204.     As noted previously, Defendant Bakke baselessly initiated




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  Amazon patent complaints against Calmeroos with patents that he

  variously designated as “544522” and as “5445522”.

      205.      Upon information and belief, Defendant Bakke acted in

  concert and in furtherance of a conspiracy with the other Defendants to file

  the baseless patent complaints.

      206.      In communications from Defendants’ attorneys to Calmeroos’

  attorneys following the initiation of legal proceedings, Defendants’

  attorneys sought to excuse the baseless patent complaints as mistaken

  assertions of foreign patents.

      207.      Defendants knew or reasonably should have known that

  foreign patents cannot be enforced within the United States.

      208.      Calmeroos have been unable in preliminary searches to

  identify any foreign patents “544522” or “5445522”purported owned by

  Defendants.

      209.      Upon information and belief, Defendants do not own any

  foreign patents “544522” or “5445522”, and Defendants’ story that they

  innocently and mistakenly asserted foreign patents against Calmeroos is

  subterfuge layered upon subterfuge.




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 XVII.      CLAIMS

            A. COUNT I: US Patent Registration No. 544,552
               Declaratory Judgment of Non-Infringement.

         210.    Calmeroos re-alleges Sections I-VII, VIII.A., IX, X.A., XIV, and

  XV of this Complaint as if set forth in full herein.

         211.    An actual and justiciable controversy exists between

  Calmeroos and Defendants as to the infringement of their unidentified

  patents.

         212.    Calmeroos’ manufacture, sale, and offers to sell its Accused

  Puppy in the United States have not infringed, contributed to the

  infringement of, or induced infringement of any valid and enforceable

  claim of their unidentified patents.

         213.    Defendants have no ownership rights to wield the Falsely

  Asserted Patents against Calmeroos.

         214.    The allegations of patent infringement by Defendants have

  placed a cloud over Calmeroos’ business and are likely to cause Calmeroos

  to lose revenues and business opportunities. Defendants’ actions and

  assertions, therefore, will likely cause irreparable injury to Calmeroos.

         215.    Calmeroos is entitled to a judgment declaring that

  Defendants’ unidentified patent is not infringed by Calmeroos’ Accused


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  Puppy.

         B. COUNT II: US Patent Registration No. 5,445,522
            Declaratory Judgment of Non-Infringement.

      216.     Calmeroos re-alleges Sections I-VII, VIII.A., IX, X.A., XIV, and

  XV of this Complaint as if set forth in full herein.

      217.     An actual and justiciable controversy exists between

  Calmeroos and Defendants as to the infringement of their unidentified

  patents.

      218.     Calmeroos’ manufacture, sale, and offers to sell its Accused

  Puppy in the United States have not infringed, contributed to the

  infringement of, or induced infringement of any valid and enforceable

  claim of their unidentified patents.

      219.     Defendants have no ownership rights to wield the Falsely

  Asserted Patents against Calmeroos.

      220.     The allegations of patent infringement by Defendants have

  placed a cloud over Calmeroos’ business and are likely to cause Calmeroos

  to lose revenues and business opportunities. Defendants’ actions and

  assertions, therefore, will likely cause irreparable injury to Calmeroos.

      221.     Calmeroos is entitled to a judgment declaring that

  Defendants’ unidentified patent is not infringed by Calmeroos’ Accused


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  Puppy.

         C. COUNT III: US Patent Registration No. 10,314,292
            Declaratory Judgment of Invalidity.

      222.     Calmeroos re-alleges Sections I-VII, XIV, XV, and XVI.A.-B. of

  this Complaint as if set forth in full herein.

      223.     An actual and justiciable controversy exists between

  Calmeroos and Defendants as to the validity of the ‘292 Patent.

      224.     The claims of those patents are invalid for failure to meet one

  or more of the requirements of patentability set forth in 35 U.S.C. §§ 101 et

  seq., including, but not limited to, §§ 101, 102, 103 and 112.

      225.     Additionally, the Accused Puppy is a straightforward puppy

  with a heat pack and heart device. Therefore, if the Accused Puppy

  infringes the ‘292 Patent, the unidentified patent lacks novelty under 35

  U.S.C. § 102 and is rendered obvious by multiple prior art references

  pursuant to 35 U.S.C. § 103.

      226.     Pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201,

  Calmeroos is entitled to and hereby move the Court for a judgment

  declaring that such claims are invalid for failure to comply with one or

  more requirements for patentability under the patent laws of the United

  States, including, but not limited to, 35 U.S.C. § 101, 102, 103, 112, 113, 115


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  and/or 116. Further, such claims are invalid for want of novelty and

  obviousness.

         D. COUNT IV: US Patent Registration No. 10,314,292
            Declaratory Judgment of Non-Infringement (Calmeroos
            Puppy).

      227.     Calmeroos re-alleges Sections I-VII, XIV, XV, and XVI.A.-B. of

  this Complaint as if set forth in full herein.

      228.     An actual and justiciable controversy exists between

  Calmeroos and Defendants as to the infringement of the ‘292 Patent.

      229.     Calmeroos’ manufacture, sale, and offers to sell its Accused

  Puppy in the United States have not infringed, contributed to the

  infringement of, or induced infringement of any valid and enforceable

  claim of the ‘292 Patent.

      230.     The allegations of patent infringement by Defendants have

  placed a cloud over Calmeroos’ business and are likely to cause Calmeroos

  to lose revenues and business opportunities. Defendants’ actions and

  assertions, therefore, will likely cause irreparable injury to Calmeroos.

      231.     Calmeroos is entitled to a judgment declaring that the ‘292

  Patent is not infringed by Calmeroos’ Accused Puppy.




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         E. COUNT V: US Patent Registration No. 10,314,292
            Declaratory Judgment of Non-Infringement (Calmeroos Kitty).

      232.     Calmeroos re-alleges Sections I-VII, XIV, XV, and XVI.A.-B. of

  this Complaint as if set forth in full herein.

      233.     An actual and justiciable controversy exists between

  Calmeroos and Defendants as to the infringement of the ‘292 Patent.

      234.     Calmeroos’ manufacture, sale, and offers to sell its Kitty in the

  United States have not infringed, contributed to the infringement of, or

  induced infringement of any valid and enforceable claim of the ‘292 Patent.

      235.     The allegations of patent infringement by Defendants have

  placed a cloud over Calmeroos’ business and are likely to cause Calmeroos

  to lose revenues and business opportunities. Defendants’ actions and

  assertions, therefore, will likely cause irreparable injury to Calmeroos.

      236.     Calmeroos is entitled to a judgment declaring that the ‘292

  Patent is not infringed by Calmeroos’ Kitty.

         F. COUNT VI: Heart Trade Dress
            Declaratory Judgment of Invalidity.

      237.     Calmeroos re-alleges Sections I-VII, XIV, XV, AND XVI.C.-D.

  of this Complaint as if set forth in full herein.

      238.     An actual and justiciable controversy exists between




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  Calmeroos and SmartPetLove as to the infringement of its heart trade

  dress.

      239.      SmartPetLove’s purported heart trade dress is functional and

  incapable of protection.

      240.      SmartPetLove’s purported heart trade dress lacks

  distinctiveness and incapable of protection.

      241.      Calmeroos is entitled to a judgment declaring that

  SmartPetLove’s purported heart trade dress is invalid.

           G. COUNT VII: Heart Trade Dress
              Declaratory Judgment of Non-Infringement.

      242.      Calmeroos re-alleges Sections I-VII, XIV, XV, AND XVI.C.-D.

  of this Complaint as if set forth in full herein.

      243.      An actual and justiciable controversy exists between

  Calmeroos and SmartPetLove as to the infringement of its heart trade

  dress.

      244.      Calmeroos’ manufacture, sale, and offers to sell its Accused

  Puppy or Kitty in the United States have not infringed SmartPetLove’s

  purported heart trade dress.

      245.      The allegations of trade dress infringement by Defendants

  have placed a cloud over Calmeroos’ business and are likely to cause


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  Calmeroos to lose revenues and business opportunities. Defendants’

  actions and assertions, therefore, will likely cause irreparable injury to

  Calmeroos.

      246.     Calmeroos is entitled to a judgment declaring that

  SmartPetLove’s purported heart trade dress is not infringed by Calmeroos’

  Accused Puppy or Kitty.

         H. COUNT VIII: Snuggle Puppy
            Declaratory Judgment of Invalidity.

      247.     Calmeroos re-alleges Sections I-VII, VII.B.-C., XIV, X.B., XII,

  XV, and XVI.D. of this Complaint as if set forth in full herein.

      248.     An actual and justiciable controversy exists between

  Calmeroos and SmartPetLove as to the infringement of its Snuggle Puppy

  trademark.

      249.     SmartPetLove’s purported Snuggle Puppy trademark lacks

  distinctiveness and incapable of protection.

      250.     Calmeroos is entitled to a judgment declaring that

  SmartPetLove’s Snuggle Puppy trademark is invalid.

         I. COUNT IX: Snuggle Puppy
            Declaratory Judgment of Non-Infringement.

      251.     Calmeroos re-alleges Sections I-VII, VII.B.-C., XIV, X.B., XII,




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  XV, and XVI.D. of this Complaint as if set forth in full herein.

      252.     An actual and justiciable controversy exists between

  Calmeroos and SmartPetLove as to the infringement of its Snuggle Puppy

  trademark.

      253.     Calmeroos’ manufacture, sale, and offers to sell its Accused

  Puppy or Kitty in the United States have not infringed SmartPetLove’s

  Snuggle Puppy trademark.

      254.     The allegations of trademark infringement by Defendants

  have placed a cloud over Calmeroos’ business and are likely to cause

  Calmeroos to lose revenues and business opportunities. Defendants’

  actions and assertions, therefore, will likely cause irreparable injury to

  Calmeroos.

      255.     Calmeroos is entitled to a judgment declaring that

  SmartPetLove’s Snuggle Puppy trademark is not infringed by Calmeroos’

  Accused Puppy or Kitty.

         J. COUNT X: Unfair Competition.

      256.     Calmeroos re-alleges Sections I-VII, XIV, and XV of this

  Complaint as if set forth in full herein.

      257.     Defendants filed complaints with Amazon.com, Inc. against



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  Calmeroos alleging patent infringement of unenforceable patents.

      258.      Defendants failed to provide any information concerning the

  complaints and ignored all resolution efforts.

      259.      By filing incomplete, bogus complaints, Defendants have

  unfairly disadvantaged Calmeroos.

         K. COUNT XI: Tortious Interference with Business
            Relationship.

      260.      Calmeroos re-alleges Sections I-VII, XIV, and XV of this

  Complaint as if set forth in full herein.

      261.      Calmeroos has a valid contract with Amazon.com, Inc.

      262.      Defendants sell on Amazon.com and knew or should have

  known of Calmeroos’ contract with Amazon.com, Inc.

      263.      Defendants filed their First Patent Infringement Complaint by

  asserting an expired patent registration that none of them owned.

      264.      Defendants filed their Second Patent Infringement Complaint

  by asserting a patent related to combustion engines that none of them

  owned.

      265.      Defendants have acted with a direct or ‘specific’ intent to

  injure Plaintiff.

      266.      Defendants have filed inauthentic claims that are untrue.


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      267.    Defendants’ improper conduct in submitting false

  infringement reports and false and disparaging reviews with whom

  Plaintiff has ongoing contracts and business relations.

      268.    Defendants intentionally interfered with Calmeroos’ business

  expectancy with Amazon.com, Inc. and its customers. In an effort to

  interfere with the Calmeroos’ economic relations, Defendants contacted

  Amazon.com to allege that Calmeroos were infringing an unidentified

  patent.

      269.    Upon information and belief, Defendants knew and intended

  that by making such an allegation, Amazon.com would immediately

  remove the Calmeroos’ listings from its website and prohibit it from

  selling the Accused Puppy until the allegation of infringement was

  resolved.

      270.    Defendants intentional interferences with Calmeroos’ contract

  was unjustified. Defendants used improper means, acted in bad faith in

  intentionally interfering with Calmeroos’ contract with Amazon.com, Inc.

  Defendants’ allegations of patent infringement by Calmeroos to

  Amazon.com were knowingly false, was an improper means, and was

  done with the intent to interfere with the Calmeroos’ current and



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  prospective economic relations, especially during a high-volume

  selling season.

       271.    Defendants have acted in objective and subjective bad faith

  by having wrongful complaints filed and refusing to resolve or

  withdraw them.

       272.    Despite its knowledge, Defendants’ failure to act in good

  faith have caused damages to Calmeroos’ business relationships with

  Amazon.com and their customers. As a direct and proximate result,

  Calmeroos has been damaged by Defendants’ tortious interferences with

  Calmeroos’ contract with Amazon.com, Inc. in an amount to be proven at

  trial.

           L. COUNT XII: Restitution.

       273.    Calmeroos re-alleges Sections I-VII, XI, XIV, XV, XVI.E. of this

  Complaint as if set forth in full herein.

       274.    Defendants’ wrongful acts have eliminated Plaintiff’s

  Calmeroos Puppy from the Amazon.com marketplace.

       275.    Defendants have monetarily benefited from its unlawful acts

  by an increase in puppy sales and by the elimination of a competitor.

       276.    But for Defendants’ wrongful acts, Plaintiff would not have



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  lost sales, goodwill, and the ability to sell its puppies and Defendants

  would have not have wrongly reduced competition and increased sales.

      277.       The Restatement (Third) of Restitution and Unjust Enrichment

  advocates that the remedy of disgorgement as a restitution theory should

  permit a claimant to recover ‘‘more than a provable loss so that the

  defendant may be stripped of a wrongful gain.’’48

      278.       Plaintiff has no adequate remedy at law.

            M. COUNT XIII: Defamation Per Se as to Defendant Robert
               Emery or Defendant DOE 1.

      279.       Calmeroos re-alleges Sections I-VII, XII.B, XIV, and XV of this

  Complaint as if set forth in full herein.

      280.       Defendants’ intellectual property infringement report to

  Amazon (a third party) falsely stated, directly or by clear implication that

  Plaintiff infringed on Defendants’ non-existent patent rights.

      281.       Defendants have also filed an inauthentic claim.

      282.       Defendants’ communication was not privileged.

      283.       Defendants’ falsehoods were made with actual malice by



       48‘‘Restitution requires full disgorgement of profit by a conscious
  wrongdoer ... because any lesser liability would provide an inadequate
  incentive to lawful behavior.” Id.


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  Defendants inasmuch as it knew of the falsity or recklessly disregarded

  their truth or falsity.

      284.      Defendants was at least negligent in making the defamatory

  and injurious statements that Plaintiff’s Calmeroos Puppy infringe

  Defendants’ intellectual property.

      285.      Defendants’ statements have caused special harm to Plaintiff

  or are actionable irrespective of special harm as they were made with the

  intent to cause Plaintiff’s customers and Amazon.com to cease doing

  business with Plaintiff and/or purchasing Plaintiff’s Products.

      286.      By its defamatory and injurious statements and wrongful

  assertion of rights against Plaintiff’s Products, Defendants have

  disparaged and impugned Plaintiff

      287.      Defendants’ defamatory and injurious statements were

  calculated to create an unfavorable impression of and to defame Plaintiff

  in order to interfere with and destroy Plaintiff’s business and did interfere

  with and destroy Plaintiff’s business.

      288.      By the aforesaid conduct, Defendants made false and

  defamatory charges against Plaintiff in reference to its trade, office, and

  profession that falsely imputed to Plaintiff that Plaintiff’s Calmeroos



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  Puppy infringe unenforceable patent registrations that none of the

  Defendants have a right to assert. These false charges were calculated by

  Defendants to injure Plaintiff in its trade, office, and profession and

  constitute defamation per se.

      289.      Defamation per se presumes malice in their utterance making

  it unnecessary to prove express malice.

      290.      Defendants’ willful, deliberate, and defamatory acts were

  committed with prior knowledge or reckless disregard of the falsity of the

  statements.

      291.      Unless preliminarily and permanently enjoined, Defendants’

  conduct will cause Plaintiff irreparable harm for which there exists no

  adequate remedy at law.

      292.      As a direct and proximate result of the aforesaid unlawful

  conduct of Calmeroos, Plaintiff has suffered substantial damages to its

  professional reputation, the threat of lost business and lost profits, for

  which Plaintiff is entitled to recover from Defendants in an amount to be

  proved at trial, plus punitive damages, and litigation expenses, including

  attorney’s fees.

      293.      Further, as Defendants intended to harm Plaintiff, and



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  actually did harm, Defendants are liable for punitive damages.

         N. COUNT XIV: Florida Deceptive and Unfair Trade Practices
            Act.

      294.     Calmeroos re-alleges Sections I-VII, XII, XIV, and XV of this

  Complaint as if set forth in full herein.

      295.     Defendants have disparaged the goods, services, or business

  of another by false or misleading representation of fact.

      296.     Defendants, directing and/or working in concert with

  Defendant DOE 1 - ‘Real Puppy Lover,’ have falsely represented in

  writing to third parties that Plaintiff’s Calmeroos Puppy are infringing,

  unlawful, and ‘knock-offs.’

      297.     Defendants have also deceptively held itself out to Georgia

  consumers and competitors as owning exclusive rights to the Falsely

  Asserted Patents.

      298.     Plaintiff has suffered damages as a result of Defendants’

  actions and will continue to suffer damage unless the Court enjoins

  Defendants from engaging in these deceptive trade practices.

         O. COUNT XV: Sherman Anti-Trust Act.

      299.     Calmeroos re-alleges Sections I-VII, VIII.A., IX, X.A., XIV, and

  XV of this Complaint as if set forth in full herein.


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      300.    Upon information and belief, at least one Defendant conspired

  with another Defendant or with a non-party to perform an act or acts.

      301.    The contemplated act or acts would have had or did have the

  effect of restraining trade or commerce in violation of 15 USCS § 1.

      302.    The conspiracy intended that Calmeroos’ sales on Amazon

  would be decreased.

      303.    In furtherance of the conspiracy, Defendant Justin Bakke

  asserted patent “544,552” against Calmeroos through Amazon’s internal

  complaint system.

      304.    None of Defendants had any right to enforce patent “544,552”

  against Calmeroos.

      305.    In furtherance of the conspiracy, Defendant Justin Bakke

  asserted patent “5,445,522” against Calmeroos through Amazon’s internal

  complaint system.

      306.    None of Defendants had any right to enforce patent

  “5,445,522” against Calmeroos.

      307.    In furtherance of the conspiracy, Defendants have asserted or

  threatened to assert U.S. Pat. Reg. No. 10,314,292 against Calmeroos.

      308.    Every claim of U.S. Pat. Reg. No. 10,314,292 requires “a sound



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  generator generating rhythmic soothing acoustic sounds that simulate

  actual animal breathing.”

      309.      Calmeroos’ puppy toy sold on Amazon does not include “a

  sound generator generating rhythmic soothing acoustic sounds that

  simulate actual animal breathing.”

      310.      Calmeroos’ kitty toy sold on Amazon does not include “a

  sound generator generating rhythmic soothing acoustic sounds that

  simulate actual animal breathing.”

      311.      No product of Calmeroos sold on Amazon includes “a sound

  generator generating rhythmic soothing acoustic sounds that simulate

  actual animal breathing.”

      312.      No product of Calmeroos contains “a sound generator

  generating rhythmic soothing acoustic sounds that simulate actual animal

  breathing.”

      313.      Any assertion of U.S. Pat. Reg. No. 10,314,292 against

  Calmeroos is objectively baseless.

         P. COUNT XVI: Patent Misuse.

      314.      Calmeroos re-alleges Sections I-VII, VIII.A., IX, X.A., XIV, and

  XV of this Complaint as if set forth in full herein.



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      315.     Upon information and belief, Defendant Bakke has made an

  objectively baseless and bad faith assertion of patent rights with the intent

  to restrain trade.

      316.     Defendant Bakke’s assertion of patent “544522” with Amazon

  was an assertion of a patent while lacking a current right to enforce the

  patent against Calmeroos.

      317.     Defendant Bakke’s assertion of patent “544522” with Amazon

  was an assertion of an expired patent.

      318.     In the alternative, Defendant Bakke’s assertion of patent

  “544522” with Amazon was an assertion of a foreign patent within the

  United States and was without any designation indicating its origin.

      319.     Defendant Bakke’s assertion of patent “544522” materially

  misled Calmeroos, subjected Calmeroos to unwarranted sanction at the

  hands of Amazon, and forced Calmeroos to expend time, effort, and

  money to react to the unjustified accusation.

      320.     Defendant Bakke’s assertion of patent “5445522” with

  Amazon was an assertion of a patent while lacking a current right to

  enforce the patent against Calmeroos.

      321.     Defendant Bakke’s assertion of patent “5445522” with



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  Amazon was an assertion of an expired patent.

      322.     In the alternative, Defendant Bakke’s assertion of patent

  “5445522” with Amazon was an assertion of a foreign patent within the

  United States and was without any designation indicating its origin.

      323.     Defendant Bakke’s assertion of patent “5445522” materially

  misled Calmeroos, subjected Calmeroos to unwarranted sanction at the

  hands of Amazon, and forced Calmeroos to expend time, effort, and

  money to react to the unjustified accusation. Upon information and belief,

  Defendant Bakke’s patent assertions were carried out on behalf of

  Defendant SmartPetLove.

      324.     Upon information and belief, Defendant Emery had prior

  knowledge of Defendant Bakke’s intent to lodge Amazon patent

  complaints against Calmeroos.

                          DEMAND FOR JURY TRIAL

       Calmeroos demands a trial by jury under Federal Rule of Civil

  Procedure 39 for all issues triable by jury.

                              PRAYER FOR RELIEF

        WHEREFORE, Calmeroos prays that this Court

     • enter judgment in favor of Calmeroos and against Defendants for all



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        counts;

     • enter a declaratory judgment that Defendants’ ‘292 Patent, heart

        trade dress, and Snuggle Puppy trademark are invalid and

        unenforceable;

     • enter a declaratory judgment that Calmeroos has not infringed in

        any way any patent, trade dress, trademark, or copyright owned by

        any Defendant;

     • find and enter and order that Defendants’ conduct amounts to an

        exceptional case and award Calmeroos its costs and attorneys’ fees;

     • enjoin Defendants, their agents, servants, employees and attorneys,

        and all those in active participation or privity with any of them,

        from charging Calmeroos or its agents, distributors, or customers

        with infringement of an unidentified patent, and from otherwise

        using the unidentified patent to interfere in any way with

        Calmeroos’ manufacture, use, offer for sale, or sale of the Accused

        Puppy;

     • award Calmeroos damages for injuries they incurred from

        Defendants’ unfair competition;

     • award Calmeroos actual, consequential, and punitive damages



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        caused by Defendants’ intentional and tortious interference with the

        Calmeroos’ contract and/or business expectancy with Amazon.com,

        Inc.;

     • award costs and expenses to Calmeroos;

     • award Calmeroos pre- and post-judgment interest and costs on all

        damages; and

     • award Calmeroos such other and further relief as the Court deems

        just and proper, premises considered.

                -----------------Signature Page Follows-----------------




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                             JURY TRIAL DEMANDED

       Pursuant to Federal Rule of Civil Procedure 38, Plaintiff hereby

  demands a trial by jury on all issues so triable.




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                       CERTIFICATE OF COMPLIANCE


        Pursuant to LR 1.05(a), the undersigned counsel certify that the

  foregoing has been prepared in 1 ¼” margins and in Book Antiqua 13

  point, one of the fonts and points approved by the Court.



                                 By:
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